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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MICHELLE M. REDD,                             )
                                              )
       Plaintiff,                             )       Case No.: 1:20-CV-07658
                                              )
v.                                            )
                                              )       Honorable Judge Sara L. Ellis
HEALTHCARE REVENUE                            )
RECOVERY GROUP, L.L.C. D/B/A                  )
ARS ACCOUNT RESOLUTION                        )       Magistrate Judge M. David Weisman
SERVICES,                                     )
                                              )
       Defendant.                             )
                                              )

DEFENDANT’S REPLY IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT

       Healthcare Revenue Recovery Group, LLC (“HRRG”) submits this reply in support of its

motion for summary judgment, and requests that the Court enter judgment in its favor.

                                        INTRODUCTION

       HRRG filed its motion for summary judgment, joint statement of material facts and

memorandum of law in support of its motion on November 15, 2021. On January 18, 2022,

Plaintiff filed her response in opposition. Disregarding Plaintiff’s failure to comply with this

Court’s Standing Order and Local Rule 56.1 for a moment, HRRG’s motion should be granted

for the following reasons: (1) Plaintiff has suffered no damages and therefore cannot satisfy

Article III; (2) HRRG’s investigation was reasonable as a matter of law; and (3) no reasonable

jury could ever find that HRRG’s actions were willful, and there is no certainly no evidence in

the record that would support HRRG committed a “repeated violation” of the FCRA as Plaintiff

suggests in her opposition brief.

       Plaintiff’s response brief fails to cite to any authority that might support Plaintiff’s

claims, and belatedly attempts to contest facts that Plaintiff already agreed were not disputed in

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the parties’ joint statement of material facts. In contrast, HRRG cited to dozens of cases in

support of its motion, and Plaintiff fails to explain how any of the cases cited are inapplicable or

would otherwise compel denial of summary judgment for HRRG. Stated simply, the evidence in

the record demonstrates that there are no genuine issues of material fact and that HRRG is

entitled to judgment as a matter of law.

                                           ARGUMENT

       There are several reasons why Plaintiff’s claim fails as a matter of law. First, she has not

suffered actual damages as a result of information reported by HRRG, and her suit should be

dismissed for lack of standing alone. Second, HRRG has adduced evidence that demonstrably

defeats Ms. Redd’s claim, and Plaintiff can point to no contrary evidence. Third, as a matter law,

HRRG conducted a reasonable investigation into Plaintiff’s disputed debt. Finally, because

Plaintiff’s only claim is that Defendant willfully failed to perform a reasonable investigation of

her dispute, and because there is no evidence that HRRG acted with reckless disregard, her

FCRA claim fails.

       While Plaintiff argues that her a reasonable jury could find that HRRG’s investigation

was not reasonable, avers she has “put up evidence damages,” and claims that a jury could find

HRRG’s violations were repeated and willful, the reality is these statements are not tethered by

facts properly before the Court. The likely reason they are not before the Court is that no such

facts exist in the record. In sum, Plaintiff’s response fails to demonstrate the existence of any

genuine issue of material fact, and as such, HRRG’s motion for summary judgment should be

granted.




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  I.     Plaintiff has failed to demonstrate that HRRG reported inaccurate information to
         the Credit Reporting Agencies or that HRRG would have discovered it was
         reporting inaccurate information after conducting a reasonable investigation.

         Plaintiff’s response relies mainly upon the unpublished Humphrey v. Trans Union LLC,

759 F. App’x 484 (7th Cir. 2019) for her position that a reasonable jury could infer HRRG failed

to conduct a reasonable investigation in this case. Humphrey involved allegations against a credit

furnisher for reporting the plaintiff’s student loan debts to credit reporting agencies (“CRAs”)

which the plaintiff contended were discharged due to his disability. Humprhey, 759 F. App’x at

491. The Court found that, in regards to the “Direct Loans” that were reported, the plaintiff’s

loan discharge application did not trigger the debt collector’s duties to stop collections and there

was no violation with respect to this debt. Id. 490. The Court held that the defendant was

required to stop collections on plaintiff’s “FFEL” loans as soon as he submitted his physician’s

certification of disability. Id. The record showed that the plaintiff sent letters to the CRAs and to

the debt collector specifically describing the nature of his disagreement. Id. After the discharge

of the debt, Humphrey contacted the CRAs five times disputing his credit report, which still

reflected the past nonpayment periods. The Humphrey court concluded that the plaintiff

presented sufficient evidence showing the debt collector disseminated inaccurate information

about his student loan debt that could have been remedied by a proper investigation. Id.

         The facts in Humphrey are completely distinguishable from this case. In Humphrey, there

was evidence in the record demonstrating that the debt collector reported inaccurate information

that could have been avoided by a reasonable investigation. The plaintiff was able to provide

evidence that the debt should not have been reported. Id. Further, the plaintiff was able to show,

at least for one of his debts, that the debt was discharged due to his disability and that a

reasonable investigation would have revealed that. In this case, Plaintiff has not provided any



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proof that the debt is not actually owed. See Denan v. Trans Union LLC, 959 F.3d 290, 296 (7th

Cir. 2020) (finding that absent an adjudication invalidating plaintiffs’ debts, plaintiffs’ §

1681e(b) inaccuracy claim does not move from speculative to plausible and therefore, plaintiffs

cannot prove any facts that would support their claim for relief). Plaintiff admitted she did not

review the explanation of benefits before her visit to MEA Munster. See Joint Statement of

Undisputed Material Facts (“SMF”) ¶ 12. Plaintiff never received any confirmation from her

health insurance that the bill was paid in full. SMF ¶ 14. Plaintiff did not provide any documents

along with her dispute to show that the debt was not owed. SMF ¶ 22. It is clear that Plaintiff’s

health insurance did not pay the entire balance she owed after her visit to MEA Munster.

Regardless, Plaintiff, unlike Humphrey, did not provide any evidence that the debt should not be

reported. At no point did HRRG have reason to believe the amounts Plaintiff owed to MEA

Munster were invalid. SMF ¶ 18. HRRG reviewing all the information included in the CDV and

concluded Plaintiff’s account was valid and accurate. SMF ¶ 24. Under the circumstances, as a

matter of law, HRRG’s investigation was reasonable. There was no information that was

provided that demonstrates HRRG’s conclusion was wrong. Further, HRRG closed the Account

two months after receiving the dispute, despite the fact that it at all times reported the debt

accurately. Plaintiff fails to explain what HRRG could have done differently after receiving her

dispute on October 16, 2020 that would have changed its conclusion. Even if Plaintiff’s claims

that she didn’t actually owe the debt are true, HRRG’s investigation was reasonable as a matter

of law the Motion for Summary Judgement should be granted.




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 II.     Plaintiff fails to demonstrate she suffered actual damages caused by HRRG.

         Plaintiff cites to Safeco Ins. Co. of America v. Burr, for the proposition that she need not

show actual damages because HRRG’s actions were a willful violation of the FCRA. 551 U.S.

47 (2007). First, Safeco does not involve allegations of failure to conduct a reasonable

investigation in violation of the FCRA and was not a lawsuit involving a debt collection

company. Id. Second, the Safeco decision provides that recklessness is an action entailing “an

unjustifiably high risk of harm that is either known or so obvious that it should be known and if a

violation is the result negligence, the affected consumer is entitled to actual damages. Id. at 49,

73. Safeco mistakenly misinterpreted a section of the FCRA. In Safeco, the Court held that even

if Safeco misinterpreted the FCRA and violated it, Safeco was not reckless as a matter of law as

would expose it to liability for anything other than actual damages. Id.

         As you can see, the facts in Safeco are entirely distinguishable from this case and the

issue in Safeco was not whether the defendant failed to conduct a reasonable investigation. In

this case, all evidence demonstrates HRRG complied with the FCRA. Plaintiff never

demonstrated that her health insurance covered all charges incurred from her visit to MEA

Munster. She never produced any documents showing she did not owe money to MEA Munster.

Even Plaintiff was able to show she did not owe a balance to MEA Munster, there is no evidence

that it was so obvious to HRRG that it was reporting inaccurate information that would amount

to a reckless violation of the FCRA. At all times the account was reported as disputed and the

account is now closed. Plaintiff fails to show HRRG acted recklessly and as such, is only entitled

to actual damages. Plaintiff has no actual damages as she testified she has not paid any money to

HRRG. Plaintiff’s claim fails as a matter of law.



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III.     There is no evidence that HRRG violated the FCRA or that it repeatedly violated
         the FCRA that would constitute a willful violation.

         Lastly, Plaintiff cites to Mattiaccio v. DHA Group, Inc., 87 F. Supp. 3d 169, 182 (D.D.C.

2015) for the proposition that courts have found repeated violations of the FCRA to constitute

evidence of a willful violation of the FCRA. Again, the facts of the Marriacco case have nothing

to do with an alleged failure to perform a reasonable investigation in violation of the FCRA.

Further, in Marriacco, the defendants violated the FCRA and offered no evidence or argument

demonstrating their non-compliance with the FCRA was inadvertent. Id. at 183. There is a

plethora of case law, much of which is cited in HRRG’s Memorandum, which provides guidance

on whether summary judgment is appropriate in a case specifically involving allegations of

failure to conduct a reasonable investigation in violation of the FCRA. Plaintiff fails to explain

how the cases cited by HRRG are distinguishable and fails to provide relevant cases that include

related allegations. Not only is the Marriacco not on point with the facts of this case, it is not a

7th Circuit case.

         Unlike in Marriacco, there is no evidence of a repeated violation of the FCRA in this

case. The only issue is whether HRRG failed to conduct a reasonable investigation under the

circumstances after receiving Plaintiff’s dispute from the CRAs. HRRG confirming the debt was

valid upon receipt of the dispute was reasonable considering the lack of information provided to

it from the CRAs. Even if Plaintiff could show there was a violation, such a violation would be

negligent at best as there is no evidence demonstrating HRRG violated the FCRA repeatedly or

recklessly. Plaintiff’s claim cannot survive by simply asserting HRRG repeatedly violated the

FCRA without any evidence that supporting such a statement. This case involved one dispute

which HRRG investigated upon receipt. Plaintiff’s baseless allegations of a repeated violation

should be completely disregarded.


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IV.     Factual assertions in Plaintiff’s response brief should be disregarded.

        Plaintiff failed to timely file her response brief despite the fact that she was given over

two months to file a response. It is well established that when a non-moving party fails to

respond to a statement of facts, all material facts set forth by the moving party will be deemed to

be admitted. See L.R. 56.1(b)(3)(C) (“All material facts set forth in the statement required of the

moving party will be deemed to be admitted unless controverted by the statement of the

opposing party.”); Parra v. Neal, 614 F.3d 635, 636 (7th Cir. 2010) (affirming district court’s

acceptance of statement facts as true where the plaintiff failed to respond); see also Cracco v.

Vitran Exp., Inc., 559 F.3d 625, 632 (7th Cir. 2009); Smith v. Lamz, 321 F.3d 680, 683 (7th Cir.

2003). Moreover, “the penalty for failing to properly respond to a movant’s 56.1(a) statement is

usually summary judgment for the movant… because the movant’s factual allegations are

deemed admitted.” Malec v. Sanford, 191 F.R.D. 581, 584 (N.D. Ill. 2000).

        Under this Court’s procedures, the parties already agreed to the Joint Statement of

Undisputed Facts. This Court’s standing order provides: “The non-moving party may include

facts in its response to the motion for summary judgment that it contends are disputed in order to

demonstrate that a genuine issue of material fact exists that warrants denying the motion for

summary judgment.” It also provides: “The non-moving party must include citations to

supporting material supporting the dispute and attach the same.” Plaintiff’s brief which consists

entirely of unsupported allegations should be disregarded for being filed late, for failure to

comply with this Court’s standing order. It is also improper under L.R. 56.1 as Plaintiff’s

response is nothing more than a compilation of general unsupported allegations.

        Additionally, Plaintiff filed her response one day late. See docket entry #37. Under the

local rules and settled law of this Circuit, HRRG’s facts are accepted as true and there is no



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genuine issue of material fact for trial because Plaintiff failed to respond to HRRG’s motion for

summary judgment by January 17, 2022. HRRG has certainly been prejudiced by this frivolous

lawsuit, by Plaintiff taking over two months to respond, and filing her response brief late. This

Court should therefore disregard Plaintiff’s improperly submitted “evidence.” One of Plaintiff’s

unsupported assertions is that Plaintiff was working in October and November of 2020. See Pl.

Resp. p. 4. Plaintiff fails to must include citations or attach supporting material supporting the

assertion that Plaintiff was working during the relevant time period or that she actually missed

shifts as a result of HRRG’s conduct. Thus, all factual assertions like this one should be

disregarded as they are irrelevant and cannot be relied on to create a genuine issue of material

fact.

V.      There is no genuine dispute of material fact.

        There is only one question in this case. Whether HRRG failed to perform a reasonable

investigation after receiving Plaintiff’s dispute. Summary judgment is proper if the

reasonableness of the defendant's investigation is beyond question. Green v. Cenlar FSB, No. 19-

CV-1555, 2021 WL 1531573, at *3 (E.D. Wis. Apr. 19, 2021) citing Westra v. Credit Control of

Pinellas, 409 F.3d 825, 827 (7th Cir. 2005). Westra makes clear that the information a credit

furnisher receives about a dispute determines how extensive an investigation must be to be

considered reasonable. Id. If the evidence in the record is unclear how the furnisher erred in its

investigation of the plaintiff’s disputes and it is unclear how a different process would have

affected how the account was reported, then plaintiff failed to put forth evidence showing a

violation of the FCRA and summary judgment should be granted. Id at *7. In Westra, the court

concluded:

        Credit Control's investigation in this case was reasonable given the scant
        information it received regarding the nature of Westra's dispute. Credit Control


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       received a CDV from Trans Union indicating that Westra was disputing the charge
       on the basis that the account did not belong to him. The CDV did not provide any
       information about possible fraud or identity theft or include any of the
       documentation provided to Trans Union by Westra. Credit Control verified
       Westra's name, address, and date of birth and sent the CDV back to Trans Union.
       Had Trans Union given Credit Control notice that the nature of the dispute
       concerned fraud, then perhaps a more thorough investigation would have been
       warranted. Given the facts of this case, however, Credit Control's verification of
       Westra's information was a reasonable procedure.

Westra v. Credit Control of Pinellas, 409 F.3d 825, 827 (7th Cir. 2005).

       In this case, Plaintiff incorrectly assumes that HRRG failed to conduct a reasonable

investigation under the FCRA simply because it did not come to the conclusion Plaintiff

desired. The following facts are undisputed:

      After a visit to MEA Munster, Plaintiff was left with balances of $526 and $35. SMF ¶
       15.
      MEA Munster placed the account with a balance of $526 to HRRG in 2017, and placed
       the account with a balance of $352 to HRRG in 2018 (the “Accounts”).
      Plaintiff never paid HRRG or MEA Munster any money. SMF ¶ 37.
      HRRG has reported the Accounts as “disputed” to the credit reporting bureaus since
       2018. SMF ¶ 16.
      Plaintiff engaged Ashley’s Credit Solutions to dispute the debt HRRG was reporting
       along with 7 other debts that were reported on Plaintiff’s credit report. SMF ¶¶ 19-21.
      Plaintiff did not provide Ashley’s Credit Solutions with any documents that support her
       dispute of the MEA Munster debts. SMF ¶ 22.
      On October 16, 2020, HRRG received an electronic notification, referred to as a
       Consumer Dispute Verification (“CDV”) from a credit reporting bureau. SMF ¶ 23.
      HRRG reviewed all information provided to it in the CDV, and responded to the credit
       reporting bureau on October 19, 2020. SMF ¶ 24.
      HRRG confirmed the Accounts were valid, accurate, and disputed. SMF ¶ 24.
      At no point did HRRG have any reason to believe that the amounts that Ms. Redd owed
       to MEA Munster were invalid. SMF ¶ 18.
      HRRG never received any documentation that might suggest the Accounts were
       inaccurate. SMF ¶¶ 22, 26.

       If Plaintiff provided HRRG with documents demonstrating the $526 and $352 was paid

by her insurance carrier then perhaps a more thorough investigation would have been warranted.

That is not what happened here and that fact is undisputed. Plaintiff has not provided any

evidence that explains how HRRG erred in its investigation of the disputes. Plaintiff also fails to

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explain what HRRG should have done that would have affected how the account was reported.

Accordingly, HRRG is entitled to summary judgment because it conducted a reasonable

investigation as a matter of law.

                                         CONCLUSION

       For the reasons stated above and in HRRG’s Memorandum of Law previously filed,

Healthcare Revenue Recovery Group, LLC respectfully requests that this Honorable Court grant

summary judgment in its favor and against Plaintiff, and for such other and further relief as this

Honorable Court deems just.




Dated: February 8, 2022                               Respectfully submitted,


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                                                  CERTIFICATE OF SERVICE

                         I hereby certify that on February 8, 2022, I electronically filed the foregoing document

                  with the Clerk of Court using the CM/ECF system, which will send notification of such filing to

                  the following attorneys of record:

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